AO 91 (Rev. 11/11) Criminal Complaint



                                     United States District Cour'
                                                               for the

                                                   Eastern District of Virginia
                                                                                                            SBP I 9 2018 i
                  United States of America
                                V.

                                                                         Case No.
                ENDA GERALD BROWNE
                a/k/a "Enda Gerard Browne"                                          1:18-MJ-444




                          Defendant(s)


                                                CRIMINAL COMPLAINT

         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                    March 2015                 in the county of                Fairfax           in the
      Eastern          District of           Virginia         ,the defendant(s) violated:

            Code Section                                                    Ojfense Description
18U.S.C. §1073                                 Defendant knowingly, intentionally, and unlawfully fled in an attempt to avoid
                                               prosecution or testimony.




         This criminal complaint is based on these facts:
See attached affidavit.




         □ Continued on the attached sheet.




                                                                                             Complainant's signature
 SAUSA Kara Reid/AUSA Dennis Fitzpatrick
                                                                                    Darrin DeCoster, Detective, USMS
                                                                                              Printed name and title


Swom to before me and signed in my presence.                                                                   J§L
                                                                                     Theresa Carroll Buchanan
                                                                                            ited States Magistrate Judge
Date:
                                                                                                Judge's signature

City and state:                         Alexandria, VA                      Hon. Theresa Carroll Buchanan, U.S. Magistrate Judge
                                                                                              Printed name and title
